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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

CHARLESTON SHIPP,
Plaintiff,
vs. NO.: 2:10-cv-02598-STA-dkv
VISIONS SPORTS BAR & GRILL, INC.,
MARIA LOPEZ, MIKE FURFIK,
CITY OF MEMPHIS, JIMMY HUDSON,
ALKI KING, NOEL JACKSON and
JULIAN,

Defendants.

 

MOTION TO DISMISS DEFENDANT CITY OF MEMPHIS, TENNESSEE

 

Pursuant to Rule 12(b)(6), Federal Rules of Civil Procedure, Defendant, City of
Memphis, Tennessee (the “City”) moves to dismiss the Complaint in this cause and in support
thereof states as follows:

1. The Complaint fails to state a claim upon Which relief can be granted.

2. The Complaint fails to state a claim pursuant to 18 USC § 1961 §§ M. (“RICO”).

3. The Court should decline to accept jurisdiction of the state court claim.
4. The Complaint fails to state a claim pursuant to state law.

Respectfully submitted,

HERMAN MORRIS, JR.

CITY ATTORNEY

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s/Zayid A. Saleem

Zayid A. Saleem, BPR #026571

Assistant City Attorney

125 North Main Street, Room 336

Memphis, Tennessee 38103-2079

Office No.: (901) 576-6614

Facsimile No.: (901) 576-6524

E-mail: ZAYID.SALEEM@MEMPHISTN.GOV

CERTIFICATE OF SERVICE

I, Zayid A. Saleem, hereby certify that a copy of the foregoing document has been
forwarded to Drayton D. Berkley, Esquire, 81 Monroe Avenue, Suite 400, Memphis, Tennessee
38103 and Precious Moore Coleman, Esquire, 100 North Main Street, Suite 2601, Memphis,
Tenncssee 38103, via electronic filing, on this the low ,day of September 2010.

s/Zayid A. Saleem
Zayid A. Saleem

